       Case 4:18-cv-00430 Document 205-11 Filed on 09/17/20 in TXSD Page 1 of 3



                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS


 KIMBERLY KJESSLER, KLAIRE
 RUECKERT, LAURA BRALEY, TIMOTHY
 HAYDEN and SUMMER LANG, individually
 and on behalf of all others similarly situated,        Civil Action No. 4:18-cv-0430
                                                        (Consolidated)
                 Plaintijfs,

 v.

 ZAAPPAAZ, INC., AZIM MAKANOJIYA,
 NETBRANDS MEDIA CORP.,
 MASHNOON AHMED, GENNEX MEDIA,
 LLC, BRANDECO, L.L.C., AKIL KURJI,
 CUSTOM WRISTBANDS INC., and
 CHRISTOPHER ANGELES,

                 Defendants.




            DECLARATION OF BRUCE W. STECKLER IN SUPPORT OF
      MOTION FOR AWARD OF ATTORNEYS' FEES AND LITIGATION EXPENSES

I, Bruce W. Steckler, declare as follows:

         1.    I am a partner at Steckler Gresham Cochran PLLC.          I submit this declaration in

support of Plaintiffs motion for an award of attorneys' fees and expenses in connection with the

services rendered, and costs and expenses incurred, in the above -captioned action (the "Action" ).

        2.     My firm served as Plaintiffs' Local Counsel in the Action.

        3.     The schedule attached as Exhibit 1 sets forth my firm's total hours and lodestar,

computed at historical rates, for the period of inception of the case through and including today's

date. The total number of hours spent by my firm during this period was 5.8, with a corresponding

total lodestar (at historical rates) of $3,999.00. This schedule was prepared from contemporaneous

records prepared and maintained by my firm. In connection with representing the Plaintiffs in the
     Case 4:18-cv-00430 Document 205-11 Filed on 09/17/20 in TXSD Page 2 of 3



Action, my firm did the following: reviewing and developing the legal theories of the case for the

drafting and revising initial pleadings; coordinating case strategy; and advising and assisting on filings

for Plaintiffs' counsel. The lodestar amount reflected in Exhibit 1 is for work performed by attorneys

and professional staff at or affiliated with my firm for the benefit of the Class. The hourly rates for

the attorneys and professional staff in my firm reflected in Exhibit 1 are the usual and customary

hourly rates historically charged by my firm in similar complex litigation matters .

       4.       My firm has no unreimbursed costs and expenses in connection with the prosecution

of the Action from inception of the case through and including today's date. I declare under penalty

                 the laws of the United States that the foregoing is true and correct .




            eckler; Partner
          crest Road, Suite 1045
   11s, ., 75230
       2-387-4040
     Case 4:18-cv-00430 Document 205-11 Filed on 09/17/20 in TXSD Page 3 of 3




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS


KIMBERLY KJESSLER, KLAIRE
RUECKERT, L\URA BRALEY, TIMOTHY
HAYDEN and SUMMER LANG, individually
and on behalf of all others similarly situated,         Civil Action No. 4:18-cv-0430
                                                        (Consolidated )
                Plaintiffs,

v.

ZAAPPAAZ, INC., AZIM MAKANOJIYA,
NETBRANDS MEDIA CORP.,
MASHNOON AHMED, GENNEX MEDIA,
LLC, BRANDECO, L.L.C., AKIL KURJI,
C STOM WRISTBANDS INC., and
CHRISTOPHER ANGELES,

                Deftndants.




EXHIBIT 1 TO THE DECLARATION OF BRUCE W. STECKLER IN SUPPORT OF
 MOTION FOR AWARD OF ATTORNEYS' FEES AND LITIGATION EXPENSES

                              Reported Hours and Historical Lodestar
                                  Inception Through Today's Date

      Na me               Position            Hours            Historical Rate          Lodest ar
 Bruce Steckler            Partner                2.0              875.00               $1,750.00
 Kir stine Rogers          Partner                2.9              7 15.00              $2,073.50
  Jamie Baciak            Paralegal                .9              195.00                $175.50




     TOTAL                                        5.8                                   $3,999.00
